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                                                                                               Nevada




                                                                                  2:10-cr-00578-APG-GWF -1
                 LINDA LIVOLSI
      a.k.a. Linda G. Findley, a.k.a. Linda Grogg                             11528-062
                              April 21, 2015                     Monique Kirtley, AFPD




                             2 and 4 of the Superseding Indictment




18 U.S.C. § 1342 and 2      Wire Fraud and Aiding and Abetting                               2010                 2

26 U.S.C. § 7206(1)         False and Fraudulent Tax Returns                                12/30/2007            4


                                                                 67



            all remaining



                                                                 April 21, 2015




                                                                 ANDREW P. GORDON, UNITED STATES DISTRICT JUDGE


                                                                 June 11, 2015
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                                                                                                           2           67
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Forty-Five (45) Months, as to Count 2; Thirty-Six (36) Months as to Count 4, each count to run concurrent, one with the other.




Due to the proximity of family, the Court recommends the defendant be permitted to serve her
                                                                                         his term of incarceration close to
Tulsa, Oklahoma.




                              July 24, 2015
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Three (3) Years per Count 2 and 4, each count to run concurrent, one with the other.
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                  LINDA LIVOLSI
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1. Mental Health Treatment - You shall participate in and successfully complete a mental health treatment program, which
may include testing, evaluation, and/or outpatient counseling, as approved and directed by the probation office. You shall
refrain from the use and possession of beer, wine, liquor, and other forms of intoxicants while participating in mental health
treatment. Further, you shall be required to contribute to the costs of services for such treatment, as approved and directed
by the probation office based upon your ability to pay.

2. Debt Obligations - You shall be prohibited from incurring new credit charges, opening additional lines of credit, or
negotiating or consummating any financial contracts without the approval of the probation officer.

3. Internal Revenue Service Compliance - You shall cooperate and arrange with the Internal Revenue Service to pay all
past and present taxes, interest, and penalties owed. You shall file timely, accurate, and lawful income tax returns and
show proof of same to the probation officer.

4. Access to Financial Information - You shall provide the probation officer access to any requested financial information,
including personal income tax returns, authorization for release of credit information, and any other business financial
information in which you have a control or interest.

5. Warrantless Search - You shall submit your person, property, residence, place of business and vehicle under your
control to a search, conducted by the United States probation officer or any authorized person under the immediate and
personal supervision of the probation officer, at a reasonable time and in a reasonable manner, based upon reasonable
suspicion of contraband or evidence of a violation of a condition of supervision; failure to submit to a search may be
grounds for revocation; the defendant shall inform any other residents that the premises may be subject to a search
pursuant to this condition.

6. Possession of Weapons - You shall not possess, have under your control, or have access to any firearm, explosive
device, or other dangerous weapons, as defined by federal, state, or local law.

7. Home Confinement with Location Monitoring - You shall be confined to home confinement with location monitoring, if
available, for a period of nine months. The Court waived the costs of location monitoring services.
Note: A written copy of the conditions of release was provided to the Defendant by the Probation Officer in open Court at
the time of sentencing.

ACKNOWLEDGEMENT


Upon finding of a violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2)
extend the term of supervision, and/or (3) modify the conditions of supervision. These conditions have been read to me. I
fully understand the conditions and have been provided a copy of them.

(Signed)   _________________________                                             ______________________
           Defendant                                                             Date


           ___________________________                                           _______________________
           U.S. Probation/Designated Witness                                     Date
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                  200.00                            Waived                        6,124,436.00


                                                             Amended Judgment in a Criminal Case




Ellwood Barlett                                                             $5,015,000.00
Internal Revenue Service                                                    $1,109,436.00




                                                $              0.00     $    6,124,436.00

                                                     6,124,436.00
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              LINDA LIVOLSI
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                               6,124,636.00




    It is recommended that any unpaid balance shall be paid at a rate of not less than $25.00 per quarter during
    incarceration and 10% of any gross income earned while not incarcerated, subject to adjustment by the Court
    based upon ability to pay.




Total amount of restitution due $6,124,436.00. Of that amount, $5,015,000.00 is joint and several with co-defendant
William Livolsi, Jr.




See attached final order of forfeiture.
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                                   U.S. v. Linda Livolsi
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                                     Restitution List




Ellwood Bartlett                               $ 5,015,000.00

Internal Revenue Service                       $ 1,109,436.00
Attn: RACS/Misc. Stop 6261 (Restitution)
333 West Pershing Avenue
Kansas City, MO 64108

Total Restitution                              $ 6,124,436.00
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